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                             UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

PATRICIA A. JOHNSON,

          Plaintiff,
                                                                CASE NO.: 6:19-cv-02139
v.

WALT DISNEY PARKS AND RESORTS
U.S., INC.,

      Defendant.
_______________________________

                            DEFENDANT WALT DISNEY PARKS
                       AND RESORTS U.S. INC.’S NOTICE OF REMOVAL
          Defendant Walt Disney Parks and Resorts U.S., Inc. (“WDPR”) seeks to remove this

case, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, from the Circuit Court for the Ninth

Judicial Court in and for Orange County, Florida, Civil Division to the United States District

Court for the Middle District of Florida, Orlando Division, because this Court has original

federal question and supplemental jurisdiction over the claims. In support of its notice of

removal, WDPR states and alleges the following:

          1.      On January 18, 2019, plaintiff Patricia A. Johnson, filed a complaint against

WDPR in the Circuit Court for the Ninth Judicial Court in and for Orange County, Florida, Civil

Division. A true and correct copy of plaintiff’s Complaint is attached as Exhibit A to this

Notice.

          2.      Plaintiff alleges that she was employed part time at WDPR’s Once Upon a Toy

Store in Orlando, Florida until she was terminated on or about September 2016. Exhibit A,

Compl. ¶¶ 3, 5 & 20.

          3.      Plaintiff asserts claims for: (1) age and disability discrimination under the Florida

Civil Rights Act of 1992 (“FCRA”), Fla. Stat. § 760.10(1)(a); (2) age discrimination under the

Age Discrimination in Employment Act of 1967 (“ADEA”), 29 U.S.C. §§ 621-643; and (3)
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disability discrimination under the Americans with Disabilities Act (“ADA”), 42 U.S.C. §

12112(a).

         4.     As set forth below, removal of this action is proper because (i) WDPR has

complied with the statutory requirements for removal; (ii) venue is proper in this District; (iii)

the Court has original federal question jurisdiction over the ADEA and ADA claims; and (iv) the

Court has supplemental jurisdiction over the remaining state law claims.

I.       WDPR Complied with the Statutory Requirements for Removal

         5.     WDPR’s removal of this action is timely. Under 28 U.S.C. § 1446(b), a “notice
of removal of a civil action or proceeding shall be filed within thirty days after the receipt by the

defendant, through service or otherwise, of a copy of the initial pleading.” The 30-day period

runs from the date the complaint was formally served on WDPR. See Murphy Bros., Inc. v.

Michetti Pipe Stringing, Inc., 526 U.S. 344, 347-48 (1999). WDPR was formally served with a

summons and complaint on October 9, 2019, and this Notice of Removal is filed within 30 days

of that date.

         6.     Pursuant to 28 U.S.C. § 1446(a), WDPR is simultaneously filing a copy of all

process, pleadings, and orders in the state court action, which is attached as Exhibit B.

         7.     Pursuant to 28 U.S.C. § 1446(d), WDPR will provide notice of this removal to

plaintiff through her attorney of record and will file a written notice of this removal with the

Circuit Court for the Ninth Judicial Court in and for Orange County, Florida, Civil Division.

II.      Venue Is Proper in This District

         8.     Pursuant to 28 U.S.C. §§ 1391(a) and 1441(a), venue lies in, and this case

properly may be removed to, the United States District Court for the Middle District of Florida,

Orlando Division, because plaintiff filed this case in the Circuit Court for the Ninth Judicial

Court in and for Orange County, Florida, which is located within this District.

III.     This Court Has Original Federal Question Jurisdiction

         9.     Pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State court of

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which the district courts of the United States have original jurisdiction, may be removed by the

defendant . . . .”

        10.     As set forth below, this Court has original federal question jurisdiction under 28

U.S.C. § 1331 because this action is brought under the laws of the United States, and

supplemental jurisdiction over state law causes of action under 28 U.S.C. §§ 1367(a) and

1441(c).

        A.      The Complaint Alleges Federal Causes of Action

        11.     “The district courts shall have original jurisdiction of all civil actions arising under
the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

        12.     Counts III and IV of plaintiff’s Complaint allege federal causes of action under

the ADEA and ADA for age and disability discrimination, both of which are written into the

United States Code. Exhibit A, Compl. ¶¶ 69-70, 75-76; 29 U.S.C. §§ 621-643; 42 U.S.C. §

12112(a). Accordingly, this Court has original federal question jurisdiction pursuant to 28

U.S.C. § 1331 because plaintiff’s ADEA and ADA claims arise under the laws of the United

States. See e.g., Weaver v. Fla. Power & Light Co., 172 F.3d 771, 772 n.1 (11th Cir. 1999)

(“Because [plaintiff’s] complaint was based in part on the federal Americans with Disabilities

Act, the lawsuit raised a federal question, and removal pursuant to 28 U.S.C. § 1441 was

therefore proper.”); Quitto v. Bay Colony Golf Club, Inc., No. 2:06-cv-286, 2006 WL 2598705,

at *2 (M.D. Fla. Sept. 11, 2006) (“The Court clearly has jurisdiction over the federal statutory

claims.”).

        B.      Related State Law Claims Are within the Court’s Supplemental Jurisdiction

        13.     Pursuant to 28 U.S.C. §§ 1367(a) and 1441(c), this Court has supplemental

jurisdiction over the remaining state law claims because those claims arise out of the same

operative facts as plaintiff’s ADEA and ADA claims -- claims within the original jurisdiction of

the Court -- such that they “form part of the same case or controversy under Article III of the

United States Constitution.” 28 U.S.C. § 1367(a). For example, the allegations relating to

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plaintiff’s age and disability discrimination claims under the FCRA (Counts I and II) are

incorporated in, or substantially similar to, the allegations set forth in her age and disability

discrimination claims under the ADEA and ADA (Counts III and IV). In short, plaintiff’s FCRA

claims arise out of the same underlying set of facts -- the alleged denial of accommodations and

subsequent termination of plaintiff’s employment -- as her claims under the ADEA and ADA.

       14.     None of the discretionary exceptions to this Court’s exercise of supplemental

jurisdiction enumerated in 28 U.S.C. § 1367(c) are present in this case.

IV.    Removal Is Proper
       15.     In light of the foregoing, this action may be removed to this Court in accordance

with 28 U.S.C. § 1441 because: (i) this action is pending within the jurisdiction of the United

States District Court for the Middle District of Florida, Orlando Division; (ii) this action is

brought under the laws of the United States; and (iii) the related state law claims are within the

Court’s supplemental jurisdiction.

       16.     This action is therefore properly removed to this Court from the Circuit Court for

the Ninth Judicial Court in and for Orange County, Florida.

V.     Reservation of Rights

       17.     Nothing in this notice of removal is intended to waive any defense or affirmative

right that WDPR has or may have against plaintiff or any of the allegations set forth in her

Complaint.

       18.     If any question should arise concerning the propriety of the removal of this

action, WDPR requests the opportunity to brief and otherwise address any disputed question that

this action is removable.

VI.    Conclusion

       19.     For all of the foregoing reasons, WDPR removes this action from the Circuit

Court for the Ninth Judicial Court in and for Orange County, Florida.



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Dated: November 8, 2019

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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 8, 2019, a copy of the foregoing was

electronically filed with the Clerk of Court by using the Court’s CM/ECF system, which will

automatically send a Notice of Electronic Filing to the parties listed on the Service List below.

                                                     /s/ Lauren H. Evans




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